 

Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 1 of 12

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

APPLE, INC., a California corporation,

Plaintiff and Counterdefendant, Case No.: 12-CV-00630-LHK

v. VERDICT FORM
SAMSUNG ELECTRONICS CO., LTD., a
Korean corporation; SAMSUNG
ELECTRONICS AMERICA, INC., a New York
corporation; and SAMSUNG
TELECOMMUNICATIONS AMERICA, LLC,
a Delaware limited liability company,

Defendants and Counterclaimants.

 

We, the jury, unanimously agree to the answers to the following questions and return them

under the instructions of this Court as our verdict in this case:

Case No.: 12-CV-00630-LHK
VERDICT FORM

 

 
Bm WwW bo

an

Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 2 of 12

APPLE’S PATENT CLAIMS AGAINST SAMSUNG

1. For each of the following products, has Apple proven by a preponderance of the
evidence that Samsung Electronics Co. (“SEC”), Samsung Electronics America
(“SEA”), and/or Samsung Telecommunications America (“STA”) has infringed
Claim 9 of the ’647 Patent?

Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
Samsung). Do not provide an answer for any cell that is blacked out.

 

~~) OS

oo

10
I
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Admire (IX28B, JX28C)

 

 

 

   

Galaxy Nexus (JX29A,
JX29B, JX29€, IX29D,
JX29E, JX29G, JX29H,
JX29], IX72)

 

Galaxy Note (JX30A, IX30B,
JIX30C)

~<

 

Galaxy Note II (IX31A,
JX31B, IX31C)

 

 

Galaxy § II (TX32A, JX32B,
JX32C, JX32D, FX32E,
JX32F)

 

Galaxy S II Epic 4G Touch
(IX33A, JX33B, JX33C)

 

Galaxy S$ II Skyrocket
(IX34A, JX34B, IX34C,
JX34D)

 

Galaxy § Ill (FX35A, JX35B,
JX35C, JX35D, FX35E,
IX35F, JX35G, JX35H,
JX351, IX35J, IX35L, IX35M,
JX35N, JX350)

 

 

Stratosphere (IX37A, JX37B)

 

 

 

 

 

 

Case No.: 12-CV-00630-LHK
VERDICT FORM

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 3 of 12

2, For each of the following products, has Apple proven by a preponderance of the
evidence that Samsung Electronics Co. (“SEC”), Samsung Electronics America
(“SEA”), and/or Samsung Telecommunications America (“STA”) has infringed
Claim 25 of the °959 Patent?

Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
Samsung). Do not provide an answer for any cell that is blacked out.

 

 

 

Admire (IX28B, JX 28C)

 

fz

 

Galaxy Nexus (JX29A, JX29B,
JX29C, JX29D, JX29E,
JX29G, JX29H, JX29])

 

Galaxy Note (JX30A, JX30B,
JX 30C)

 

Galaxy Note IT (FX31A,
JX31B, JX31C)

 

Galaxy § I (JX32B, JX32C,
JX32E, JX32F)

 

Galaxy S II Epic 4G Touch
(IX33A, IX33B, JX33C)

 

Galaxy S II Skyrocket
(JX34A, JX34B, JX34C)

 

Galaxy § III (JX35G, JX35H,
JX351, FX35J, IX35M, JIX350)

 
  

 

 

Galaxy Tab 2 10.1 (JX36C)

 

 

 

 

Stratosphere (JX37A)

 

 

 

 

 

Case No.: 12-CV-00630-LHK
VERDICT FORM

 

 

 
ao

Oo CoO ~~ BD tA

10
1]

12.

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 4 of 12

3. For each of the following products, has Apple proven by a preponderance of the
evidence that Samsung Electronics Co. (“SEC”), Samsung Electronics America
(“SEA”), and/or Samsung Telecommunications America (“STA”) has infringed

Claim 20 of the °414 Patent?

Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for

Samsung). Do not provide an answer for any cell that is blacked out.

    

Admire (IX28B, JX 28C)

 

 

Galaxy Nexus (JX29A,
JX29B, IX29C, JX29D,
JX29E, JX29G, JX29H,
JX291, JX72)

 

Galaxy Note (IX30A, IX30B,
jX 30C)

 

Galaxy Note I (TX31A,
JX31B, JX31C)

Z fz |&

 

Galaxy S II (3X32A, JX32B,
JX32C, JX32D, FX32E,
JX32F)

az

 

Galaxy S II Epic 4G Touch
(JX33A, JX33B, JX33C)

z

 

Galaxy S II Skyrocket
(TX34A, IX34B, JX34C,
JX34D)

 

Galaxy S$ III (JX35A, JX35B,
JX35C, JX35D, JX35E,
JX35F, JX35G, JX35H,
JX351, IX35J, FX35L,
JX35M, JX35N, JX350)

x

 

Galaxy Tab 2 10.1 (IX36A,
JX36B, JX36C, IX36D)

 

 

 

Stratosphere (JX37A, JX37B)}

 

Zick

 

 

Case No.: 12-CV-00630-LHK
VERDICT FORM

z a 1a 2 jz

z

 

Z\Z

 

 
oO ss NN

so

10
It
12
13
14
15
16
17
18
19
20
2]
22
23
24
25
26
27
28

Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 5 of 12

\ . ~~

4, For each of the following products, has Apple proven by a preponderance of the
evidence that Samsung Electronics Co. (“SEC”) and/or Samsung
Telecommunications America (“STA”) has infringed Claim 8 of the ’721 Patent?

Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
Samsung). Do not provide an answer for any ceil that is blacked out.

 

 

 

 

 

 

Admire (1X28B)

 

 

Galaxy Nexus (IX29A, JX29B,
JX29C, JX29D, JX29E, JX29H,
JX291, IX72)

 

 

 

Galaxy § li (IX32C, IX32E)

 

Galaxy S I] Epic 4G Touch
(IX33A, JX33B)

 

Galaxy $ II Skyrocket (JX34C)

 

 

Stratosphere (JX37A)

 

 

Merz Ne

 

 

 

Case No.: 12-C'V-00630-LHK
VERDICT FORM

 

 

 

 

 
> BY Ww

oO fc sO OH lf

10
1]
12
13
14
15

16

17
18
19
20
21
22
23
24
25
26
27
28

 

Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 6 of 12

5. If you found that Samsung Electronics America (“SEA”) or Samsung
Telecommunications America (“STA”) infringed in Questions 1-4, has Apple proven
by a preponderance of the evidence that Samsung Electronics Co. (“SEC”) took
action that it knew or should have known would induce SEA or STA to infringe the
647 Patent, °959 Patent, ’414 Patent, and/or ’721 Patent?

Please answer in each cell with a “Y” for “yes” (for Apple), or with an “‘N” for “no” (for
Samsung). Do not provide an answer for any cell that is blacked out.

(FX28)
axy Nexus (JX29)
axy Note (JX30)
axy Note II JX31)

axy 8 I (X32)
y 8 il Epic 4G Touc
ySU et
Galaxy S III (JX35 N
Tab 2 10.1 ( N

ere (

 

6. For each of the following products, has Apple proven by a preponderance of the
evidence that Samsung Electronics Co. (“SEC”) took action it knew or should have
known would contribute to infringement of the °647 Patent, 959 Patent, "414 Patent,
and/or ’721 Patent?

Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
Samsung). Do not provide an answer for any cell that is blacked out.

Admire
eXus
Galaxy Note (
Galaxy Note I (7X31)

Galaxy 5 II 0X32)
Galaxy S II Epic 4G T
ysil et (X34)
5 Hi 0X35)
axy Tab 2 10.1 0X36)

tratosphere (JX37)

 

Case No.; 12-CV-00630-LHK
VERDICT FORM —

 

 
Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 7 of 12

7, Has Apple proven by clear and convincing evidence that the Samsung entity’s
infringement of any of the following patents was willful?

Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for

10
i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Samsung). Do not provide an answer for any cell that is blacked out.

647 Patent (Claim 9

°959 Patent (Claim 25
414 Patent (Claim 20
°721 Patent (Claim 8

172 Patent (Claim 18

8. Has Samsung proven by clear and convincing evidence that Apple’s asserted patent

claims are invalid?

647 Patent (Claim 9} Yes
*959 Patent (Claim 25) Yes
”414 Patent (Claim 20) Yes
721 Patent (Claim 8) Yes
*172 Patent (Claim 18) Yes

Case No.: 12-CY-00630-LHK
VERDICT FORM

(for Samsung)
(for Samsung)
(for Samsung)
(fer Samsung)

(for Samsung)

 

No _X (for Apple)
No _X_ (for Apple)
No _X_ (for Apple)
No _X_ (for Apple)
No _X_ (for Apple)

 

 
me Ww ht

~~) ow

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 8 of 12

DAMAGES TO APPLE FROM SAMSUNG (IF APPLICABLE)

9, What is the total dollar amount that Apple is entitled to receive from Samsung on
the claims on which you have ruled in favor of Apple?

$- 119, 625,000.00

 

10. a. For the total dollar amount in your answer to Question 9, please provide in the
chart on the next page the dollar breakdown for each product. Do not provide an
answer for any cell that is blacked out.

Case No.: 12-CV-00630-LHK
VERDICT FORM

 

 

 
Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 9 of 12

 

 

 

 

 

 

 

 

 

 

 

 

 

   

   

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

~Ceh-seee -eeplesz2| 8A47/0SL ZB £ | 251806) wexp
1G ]S1'Q | DIL hbAY aroydsoyens
a (9€XN)
# 2 101
7 BL AxepeD
[2LhOh't§ BS  \rae’son’ee! (exo)
Ill § Axepey
. Beetors eo verete XO 7a Jj s72'emK'2 | wots
69/7949 E | 4OblSLI" I] § Axeypep
(€€Xf)
KES BHT Lhe Va) 4) 4 AE1'Sor’o1| —_yorolL op
9EL 'AIOlD/ | 299'bAB'S aidg I} § Axepey
| 095-5209 —f— BB ZI yy 09S 'S29°8 (EX)
XE
: O76 "th? et | Cob /bI0"y I's dete
i SLL A878 2] oi GLL 489 °S (ex)
. | IL ION AxEIeDH
| ESO"KAS'S [LEAS 9I'Y 2 72) ORL ‘LLP’ (ocx)
MON AXETRD
1€h,'409'G \OSO'LLS "1 | 182 L98 p # OOMBSINE | (6cxt :
SNXON AXETEO z
' ! / t ‘ / fy. f $ Ss
bAS LE7'11 |SL9'SS9'2 | 769'2LE4 fi & OL bbe L (sexo) 52
op tse ee eID. scurry | gm yore | 2
_ m — Ol ot ™ ON om ™ m™

 
10
11

12

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 10 of 12

b. For the doliar amount in your answer to Question 10.a., please provide the dollar
breakdown for the following products and following periods:

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

Gate SH ASZy 7 20S O79 SPE OFP- Sy tes 7 ete

Galaxy S IE Epic 4G Touch G, O41, SOL 4,221,256 57 7752, a34

(7X33) B/G08 AB! +7 FEA 7EBY 7

Galaxy S$ II Skyrocket 2972, 393 354,907 BIT VF

(1X34) 7 F80;9- SATO | 5

Galaxy Sil (5X82) | 9,094, To! | 437,010 | 3,113,184
10

Case No.: 12-CV-00630-LHK

VERDICT FORM

 

 

 

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 11 of 12

11.

12.

13.

SAMSUNG’S PATENT CLAIMS AGAINST APPLE

For each of the following products, has Samsung proven by a preponderance of the
evidence that Apple has infringed Claim 15 of the ’239 Patent?

Please answer in each cell with a “Y” for “yes” (for Samsung), or with an “N” for “no”
(for Apple).

iPhone 4 (JX38)

iPhone 48 (JX39)
iPhone 5 (JX40)

 

For each of the following products, has Samsung proven by a preponderance of the
evidence that Apple has infringed Claim 27 of the 449 Patent?

Please answer in each cell with a “Y” for “yes” (for Samsung), or with an “N” for “no”
(for Apple).

 

   

PP
iPhone 4 (5X38) .
iPhone 48 (JX39)
iPhone 5 (JX40)
iPod touch, 4th gen. (1X45)
iPod touch, 5th gen. JX46)

 

 

 

 

 

 

 

 

SMI] <

 

Has Samsung proven by clear and convincing evidence that Apple’s infringement of
any of the following patents after April 18, 2012 was willful?

Please answer in each cell with a “Y” for “yes” (for Samsung), or with an “N” for “no”
(for Apple).

 

   

 

 

 

 

 

 

Samsung Patet Apple
"239 Patent (Claim 15) N
"449 Patent (Claim 27) N
11

Case No.: 12-CV-00630-LHK
VERDICT FORM

 

 

 

 
wo oe Ow ON

“oh

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 5:12-cv-00630-LHK Document 1884 Filed 05/05/14 Page 12 of 12

DAMAGES TO SAMSUNG FROM APPLE (IF APPLICABLE)

14, What is the total dollar amount that Samsung is entitled to receive from Apple on
the claims on which you have ruled in favor of Samsung?

§_ 108,400.

15, For the total dollar amount in your answer to Question 14, please provide in the
chart below the dollar breakdown for each product. Do not provide an answer for any
cell that is blacked out.

 

 

 

 

 

 

 

 

 

 

 

 

 

iPhone 4

(X38) 290,591.00 T £0,594, OO
iPhone 48

(IX39) 28,474.00 iy 28,474.
iPhone 5

(1X40) 41,519.00. F 41,514, OO
iPod Touch, 4th gen.

(IX46) 4O, 597.00 YOS97 » CG
iPod Touch, 5th gen.

(FX45) 27, 224. 20 7, 204. CO

 

 

Have the presiding juror sign and date this form.

 

Shida

Signed:

 

PRESIDING JUROR

  

 

Presiding Turer

Case No.: 12-CV-00630-LHK
VERDICT FORM

12

vue 5/2/2014

roe SIO

 

 

 

 
